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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                           (Northern Division)

GERMAN ADONA Y
NUNEZ RODRIGUEZ,                el a/.
                                                                        Case No.1: 17-cv-00499 (JFM)
         Plaintiffs,

v.

NATIONWIDE             TREE SERVICE, LLC, el a/.,

         Defendants.

            ORDER GRANTING JOINT MOTION FOR JUDICIAL APPROVAL OF
              SETTLEMENT AND DISMISSAL OF ACTION WITH PREJUDICE

         Upon consideration         of the Joint Motion for Approval        of Settlement     filed by Plaintiffs,

German        Adonay    Nunez     Rodriguez,    Rember   Ezequias     Nunez    Azucena,     and Kevin Roberto

Gutierrez      (collectively    "Plaintiffs")   and Defendants,      Nationwide     Tree    Service,   LLC, Tree

Discount Service, LLC, John Ogonowski              and Steven Jernigan ("Defendants"),          the Court hereby

GRANTS the Motion and approves the settlement between Plaintiffs and Defendants (hereinafter,

collectively    referred to as "the Parties") based on the following findings:

         1.        The Parties have provided the Court with sufficient information               to conclude that

the settlement is fair and reasonable and is an equitable compromise              of disputed facts and claims.

         2.        In addition, the settlement agreement represents a fair and reasonable resolution of

a bonafide dispute under the FLSA according to the factors that have been cited in other actions

before the District Court.

         3.        The Court finds that the settlement was the product of arms' length negotiations

between Counsel for the Parties, who are experienced              in the field of FLSA litigation.




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         4.       The attorneys'     fees and costs to be paid under the settlement             agreement   are

separately stated and Counsel has provided sufficient information            to permit the Court to conclude

that the fees and costs represent payments for amounts actually incurred at a reasonable                 hourly

rate.   The amount allocated       for attorneys'    fees and costs bear a reasonable     relationship   to the

amount of time expended by counsel, and the amount being paid to Plaintiffs under the Agreement.

         WHEREFORE,        the Court hereby Orders that:


              •   The Joint Motion for Approval be and is hereby GRANTED;


              •   The Settlement is APPROVED;           and


              •   This case is DISMISSED            WITH PREJUDICE     in its entirety, with each Party to

                  bear their own attorneys'         fees and costs (except    as specifically    noted in the

                  Settlement Agreement).




    r!Rjlz                                                          ~
Date                                                 The onorable J. Frederic Motz
                                                     Unit d States District Judge




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